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Telephone: (310) 277-7200
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER:

3G PRODUCTIONS, INC., a Nevada corporation,                      2:20-cv-01379-FMO-JEM

                                                  Plaintiff(s)
                         v.

BEAUTYCON MEDIA, INC., a Delaware corporation,                                  WRIT OF EXECUTION

                                                Defendant(s)


     TO:       THE UNITED STATES MARSHAL FOR THE CENTRAL DISTRICT OF CALIFORNIA
               You are directed to enforce the Judgment described below with interest and costs as provided by law.

            On     May 12, 2020                   a judgment was entered in the above-entitled action in favor of:
Plaintiff 3G PRODUCTIONS, INC.




               as Judgment Creditor and against:
               Defendant BEAUTYCON MEDIA, INC.




               as Judgment Debtor, for:
                  $            270,532.60 Principal,
                  $              9,065.10 Attorney Fees,
                  $              2,722.50 Interest **, and
                  $                603.00 Costs, making a total amount of
                  $            282,923.20 JUDGMENT AS ENTERED



**NOTE: JUDGMENTS REGISTERED UNDER 28 U.S.C. §1963 BEAR THE RATE OF INTEREST OF THE
        DISTRICT OF ORIGIN AND CALCULATED AS OF THE DATE OF ENTRY IN THAT DISTRICT.


                                                   WRIT OF EXECUTION
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WHEREAS, according to an affidavit and/or memorandum of costs after judgment it appears that further sums
have accrued since the entry of judgment in the Central         District of California,
to wit:

         $                     27.28 accrued interest, and
         $                      0.00 accrued costs, making a total of
         $                     27.28 ACCRUED COSTS AND ACCRUED INTEREST

Credit must be given for payments and partial satisfaction in the amount of $ 0.00                         which is
to be credited against the total accrued costs and accrued interest, with any excess credited against the judgment
as entered, leaving a net balance of:

         $                282,950.48 ACTUALLY DUE on the date of the issuance of this writ of which
         $                282,950.48 Is due on the judgment as entered and bears interest at 0.16
                                     percent per annum, in the amount of $ 1.24                   per day,
                                     from the date of issuance of this writ, to which must be added the
                                     commissions and costs of the officer executing this writ.




                                                             CLERK, UNITED STATES DISTRICT COURT




Dated:         June 15, 2020                                 By:
                                                                                   Deputy
                                                                                   De
                                                                                   Depu
                                                                                     p ty
                                                                                        t Clerk




                                              WRIT OF EXECUTION
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The following are name(s) and address(es) of the judgment debtor(s) to whom a copy of the Writ of Execution
must be mailed unless it was served at the time of the levy. This information must be filled in by counsel
requesting this writ.




   California Registered Agent Inc.,                      Beautycon Media, Inc.
   Registered Agent for Service of Process                1626 Wilcox Ave., Suite 392
   for BEAUTYCON MEDIA, INC.                              Los Angeles, CA 900028
   1267 Willis Street, Suite 100
   Redding, CA 96001




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NOTICE TO THE JUDGMENT DEBTOR
You may be entitled to file a claim exempting your property from execution. You may seek the advice of an
attorney or may, within ten (10) days after the date the notice of levy was served, deliver a claim of exemption
to the levying officer as provided in Sections 703.510 - 703.610 of the California Code of Civil Procedure.




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 1                                      PROOF OF SERVICE
 2    STATE OF CALIFORNIA                        )
                                                 ) SS
 3    COUNTY OF LOS ANGELES                      )
 4           I am employed in the County of Los Angeles, State of California. I am over the
      age of 18 and not a party to the within action; my business address is 2029 Century Park
 5    East, Suite 3500, Los Angeles, California 90067. On June 12, 2020, I served the within
      document(s):
 6                                     WRIT OF EXECUTION
 7
              by placing the document(s) listed above in a sealed envelope with postage thereon
 8    :fully prepaid, in the United States mail at Los Angeles, California, addressed as set
              forth below.
 9
           by personally delivering the document(s) listed above to the person(s) at the
10
          address(es) set forth below.

11         by placing the document(s) listed above in a sealed envelope or package provided
          by an overnight delivery carrier with postage paid on account and deposited for
12         collection with the overnight carrier at Los Angeles, California, addressed as set
           forth below.
13
           by transmitting the document(s) listed above, electronically, via the email
14
          addresses set forth below.

15             California Registered Agent Inc.           Mark Anthony Vega
               Registered Agent for Service of Process    INCITE LAW GROUP, INC.
16
               for BEAUTYCON MEDIA, INC.                  325 N Larchmont Blvd, # 523
17             1267 Willis Street, Suite 100              Los Angeles, CA 90004-3011
               Redding, California 96001                  Tel: 323-306-3873
18
                                                          Fax: 323-306-3874
19                                                        mark@incitelawgroup.com
20           I am readily familiar with the firm's practice of collection and processing
      correspondence for mailing. Under that practice it would be deposited with the U.S.
21    Postal Service on that same day with postage thereon fully prepaid in the ordinary course
      of business. I am aware that on motion of the party served, service is presumed invalid if
22    postal cancellation date or postage meter date is more than one day after date of deposit
      for mailing in affidavit.
23
           I declare that I am employed in the office of a member of the bar of this court at
24    whose direction the service was made.

25             Executed on June 12, 2020, at Los Angeles, California.

26

27

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                                          PROOF OF SERVICE
      63546109v.1
